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                         IN THE UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

  IN RE: Kimberly Kaye Miller                         *       Case No. 17-10511-tmd
                                                      *
                                   Debtor             *       Chapter 13

                              CHANGE OF ADDRESS NOTIFICATION

  Please be advised that the above named Debtor has changed her physical address to:

          Kimberly Miller
          10625 Flamewood Drive
          Fort Worth TX 76140

  Her mailing address for all correspondence is:

          Kimberly Miller
          P.O. Box 122
          Burleson TX 76097


                                                      Respectfully submitted,

                                                      /s/ Lee Norton Bain
                                                      ______________________________
                                                      Lee Norton Bain, SB# 01548500
                                                      120 West 8th Street
                                                      Georgetown, Texas 78626
                                                      PH: (512)-863-2813
                                                      FX: (512)-869-5090
                                                      leebain@leebainlaw.com
                                                      Attorney for Debtor


                                    CERTIFICATE OF SERVICE

  By my signature above, I, Lee Norton Bain, certify that a true and correct copy of this Notice has
  been or will be served via electronic means as listed on the Court’s CM/ECF noticing system, on
  June 23, 2017.




  CHANGE OF ADDRESS NOTIFICATION                                                        Page 1 of 1
